 

Case 2:97-cv-02034-MTB Document 46 Filed 10/24/05 Page 1 of 9 PagelD: 151

Mr. Louis Anthony Manna RECEIVED CLERK _

# 09211-0590 U.S, DISTRICT COUR

FCT Fairton

P.O. Box 420 a0 OCT 2H FP 3 23

Fairton, New Jersey O8320

The Honorable Dickson R. Debevoise
United States District Court

The Martin Luther King Jr.

Federal Building & U.S. Courthouse
50 Walnut Street

Newark New Jersey 08320

October 20, 2005
Re: USA v. Manna 2:97-CV-2034
To The Honorable Judge Dicksen R. Debevoise,
After reading and re-reading the master log that is before

the Court dated August 16, 2005, I finally realized that at tah #
ll there are eight crucial FOIA documents that were not placed in

Lhe log which are germane to my issue before this Court. I
inadvertently left oul these materlals in my haste to present to
the Court my filings for its’ review. I apologixe for any

LonconvenLonce,

Ce
Clerk of Court
U.S. Attorney, Newark NJ

Rnel.
Tab Ll additions

Respectfully,

L gung A. Wamna

Mr. Louis Anthony Manna
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: Page 2 of 9 PagelD: 152
: FD: 0CASE. 2:Gfetv-02034-MTB Document 46 Filed 10/24/05 a

 

FEDERAL BUREAU OF INVESTIGATION

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NK 183A-329

 

Continuation of interview ( Se : / 16 / 88 Page 2
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- mee’ =S indeed an agent and that Rane ~ >

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inl Viable targe had that the FBI Wal gniy concerned in known
Organized crime type activities. Bae advised he has an individual

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is any organized crime activities conducted at

Ge «+: he would check on the restaurant to see
if it was a goo a for an organized crime type investigation

   
 
   

   
 
  

  
    
  

 

 

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FEDERAL BUREAU OF INVESTIGATION . “
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Date af transcription B / 18 B 7
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lowing New Jersey license plates were observed on Jackson Street
and First Street, in the vicinity of CASELLA' S RESTAURANT

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Jersey license ‘plate. Was observed parked at the curb ad~

jacent to CASELLA'S RESTAURANT on Jackson Street, Hoboken, New

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Motor Vehic Records provided : llowing registration data
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